






Opinion issued April 10, 2008










In The

Court of Appeals

For The

First District of Texas






NO. 01-07-00870-CV






ELBERT SCOTT,  Appellant


V.


LT. JACQUELINE DOUGLAS,  Appellee






On Appeal from the 270th District Court 

Harris County, Texas

Trial Court Cause No. 2004-73681





MEMORANDUM OPINION	Appellant Elbert Scott has neither established indigence, nor paid all the
required fees.  See Tex. R. App. P. 5 (requiring payment of fees in civil cases unless
indigent), 20.1 (listing requirements for establishing indigence); see also Tex. Gov't
Code Ann. §§ 51.207 (Vernon 2005), 51.208 (Vernon Supp. 2007); 51.941(a)
(Vernon 2005), 101.041 (Vernon Supp. 2007) (listing fees in court of appeals); Fees
Civ. Cases B(1), (3) (listing fees in court of appeals).  After being notified that this
appeal was subject to dismissal, appellant Elbert Scott  did not adequately respond. 
See Tex. R. App. P. 5 (allowing enforcement of rule); 42.3(c) (allowing involuntary
dismissal of case).

	We dismiss the appeal for nonpayment of all required fees.  We deny all
pending motions.

PER CURIAM

Panel consists of Justices Taft, Keyes, and Alcala.


